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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA

TALLAHASSEE DIVISION
)
THE UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
V. ) CIVIL ACTION NO.
)  4:12-CV-00285-WS-CAS
STATE OF FLORIDA; KEN DETZNER, )
Secretary of State, in his official capacity, )
)
Defendants. )
)

NOTICE OF APPEARANCE

COME NOW the Plaintiff UNITED STATES OF AMERICA and advises that Trial

Attorney Elise Sandra Shore appears as counsel for the United States.

Date: June 13, 2012

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Respectfully submitted,
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CERTIFICATE OF SERVICE
I certify that a true and correct copy of the foregoing will be sent electronically to the
registered participants (filed through EM/ECF system) and an e-mail copy of the same will be

transmitted to the non-registered participants, on this the 13" day of June, 2012:

Daniel E. Nordby

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/s/ Elise Sandra Shore

ELISE SANDRA SHORE
